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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
                             ANDERSON DIVISION

Brandon Arflin,
                                                      C/A No. 8:16-cv-00535-MGL
                      Plaintiff,

       vs.

Clear Creek Consulting, Inc.,

                      Defendant

   STIPULATION OF DISMISSAL WITH PREJUDICE AS TO DEFENDANT
                CLEAR CREEK CONSULTING, INC.

       Plaintiff Brandon Arflin hereby dismisses his claims against Defendant Clear

Creek Consulting, Inc. with prejudice, pursuant to Rule 41 of the Federal Rules of Civil

Procedure.

       NOW THEREFORE, it is hereby stipulated that the claims of the Plaintiff

Brandon Arflin against Defendant Clear Creek Consulting, Inc. are dismissed with

prejudice with each party to bear its own fees and expenses.


WE SO STIPULATE:

 s/ Dave Maxfield____________                 s/Sarah Sloan Batson____________
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 DATED: July 20, 2016
